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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION                                         ENTERED
                                                                                           04/15/2020
                                                         )
 In re:                                                  ) Chapter 7
                                                         )
 VENTECH ENGINEERS LP, et. al.,                          )
                                                         ) Case No. 17-33203
          Debtor.                                        )
 ------------------------------------------------------- )
                                                         )
 RODNEY D. TOW, CHAPTER 7 TRUSTEE )
 FOR THE ESTATE OF VENTECH                               )
 ENGINEERS LP,                                           )
                                                         )
          Plaintiff,                                     )
                                                         )
 v.                                                      ) Adversary Proc. 19-03637
                                                         )
 VENTECH HOLDINGS 3 LLC,                                 )
 INTERNAL REVENUE SERVICE AND                            )
 CHARLES P. RETTIG,                                      )
                                                         )
          Defendants.                                    )
                                                         )

        ORDER GRANTING MOTION FOR JUDGMENT ON THE PLEADINGS                   (Docket No.
                                                                              23)
       WHEREAS, Defendant Ventech Holdings 3 LLC (the “Defendant”) having filed its

Motion for Judgment on the Pleadings (the “Motion”) and the Court, having considered the

Motion and the responses and replies, and being of the opinion that the relief requested in the

Motion should be granted. In granting the motion, the Court does not opine on whether a claim

to recover the subject payment exists; rather, the Court grants the motion based on the claims

and facts actually asserted by the Trustee.



     Signed: April 14, 2020.

                                                    ____________________________________
                                                    DAVID R. JONES
                                                    UNITED STATES BANKRUPTCY JUDGE




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